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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-000266-WBS
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         SENTENCING HEARING AND SET PSR
13                          v.                           SCHEDULE
14                                                       DATE: January 13, 2020
     ERIC LEMOYNE WILLIS,                                TIME: 9:00 AM
15                                                       COURT: Hon. William B. Shubb
16                                Defendant.

17

18                                               STIPULATION

19         1.       By previous order, the Court set this matter for sentencing as to Defendant Eric Lemoyne

20 Willis on January 13, 2020.

21         2.       The parties request additional time to prepare for the sentencing hearing.

22         3.       By this stipulation, the parties now move to continue the sentencing hearing until March

23 23, 2020.

24         4.       The parties also request that the Court adopt the following PSR disclosure schedule:

25                  •   Draft Presentence Report due February 10, 2020

26                  •   Informal Objections to the Presentence Report due February 17, 2020

27                  •   Final Presentence Report due February 24, 2020

28                  •   Motions for Correction/Formal Objections due May 2, 2020


      STIPULATION AND ORDER TO CONTINUE SENTENCING       1
30    HEARING AND SET PSR SCHEDULE
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 1            5.       The parties have also confirmed the requested new schedule with the assigned probation

 2 officer.

 3 IT IS SO STIPULATED.

 4

 5
     Dated: December 5, 2019                                  MCGREGOR W. SCOTT
 6                                                            United States Attorney
 7
                                                              /s/ ROBERT J. ARTUZ
 8                                                            ROBERT J. ARTUZ
                                                              Special Assistant U.S. Attorney
 9

10
     Dated: December 5, 2019                                  /s/ DANIEL OLSEN
11                                                            DANIEL OLSEN
12                                                            Counsel for Defendant
                                                              ERIC LEMOYNE WILLIS
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16                                           FINDINGS AND ORDER

17            The sentencing hearing for Defendant Eric Lemoyne Willis is hereby continued to March 23,

18 2020 at 9:00 a.m., and the parties’ proposed PSR schedule is hereby adopted.

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20            IT IS SO ORDERED.

21 Dated: December 9, 2019

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      STIPULATION AND ORDER TO CONTINUE SENTENCING        2
30    HEARING AND SET PSR SCHEDULE
